Case 2:16-cv-00254-DRH-AKT Document 75 Filed 06/25/21 Page 1 of 1 PageID #: 704



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                                                      June 25, 2021

 Denis R. Hurley, USDJ
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

 Re:     Rodriguez et al v. Ridge Pizza Inc. et al, 16-cv-00254-DRH-AKT
         Amended Briefing Schedule: Motion for Attorneys’ Fees and Costs

 Dear Judge Hurley:

         On May 26, 2021 the Court so-ordered a briefing schedule regarding counsel’s motion
 for attorneys’ fees and costs. With the consent of the Defendants, Plaintiff requests that the
 briefing schedule be amended as follows:

                                            Original Date             New Date
                        Motion              6/25/2021                 7/23/2021
                        Response            7/23/2021                 8/20/2021
                        Reply, if any       8/13/2021                 9/10/2021

         Thank you for your consideration of this request.

                                                      Respectfully submitted,


                                                      Steven J. Moser
                                                      Steven J. Moser




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